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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

COCOON INNOVATIONS, LLC,                           )
                                                   )     Case No. 18-cv-01875
                        Plaintiff,                 )
                                                   )     Judge Matthew F. Kennelly
       v.                                          )
                                                   )     Magistrate Judge Jeffrey T. Gilbert
TYFAMILY, et al.,                                  )
                                                   )
                        Defendants.                )
                                                   )

         MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR
    ELECTRONIC SERVICE OF PROCESS PURSUANT TO FED. R. CIV. P. 4(f)(3)

       Pursuant to Federal Rule of Civil Procedure 4(f)(3), Plaintiff Cocoon Innovations, LLC

(“Plaintiff” or “Cocoon”) requests this Court’s authorization to serve process by electronically

publishing a link to the Amended Complaint, the Temporary Restraining Order, and other relevant

documents on a website, and by sending an e-mail to the e-mail addresses identified in Exhibit 3

to the Declaration of Isaac Horowitz and any e-mail addresses provided for the Defendants by third

parties that includes a link to said website. Cocoon submits that providing notice via electronic

publication and e-mail, along with any notice that Defendants receive from payment processors,

is reasonably calculated under all circumstances to apprise Defendants of the pendency of the

action and afford them the opportunity to present their objections.

       Electronic service is appropriate and necessary in this case because the Defendants, on

information and belief, rely primarily on electronic communications to communicate with their

third party service providers and customers, demonstrating the reliability of this method of

communication by which Defendants may be apprised of the pendency of this action. Authorizing

service of process solely via e-mail and electronic publication will benefit all parties and the Court
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by ensuring that Defendants receive prompt notice of this action, thus allowing this action to move

forward expeditiously. Absent the ability to serve Defendants in this manner, Cocoon will almost

certainly be left without the ability to pursue a final judgment.

        Online Marketplace Account operators accepting PayPal or Amazon Pay must provide a

valid e-mail address to customers for completing payment. Declaration of Justin Gaudio (the

“Gaudio Declaration”) at ¶ 2. As such, it is far more likely that Defendants can be served

electronically than through traditional service of process methods.

        Federal Rule of Civil Procedure 4(f)(3) allows this Court to authorize service of process by

any means not prohibited by international agreement as the Court directs. Rio Props., Inc. v. Rio

Int’l Interlink, 284 F.3d 1007, 1014 (9th Cir. 2002). The Ninth Circuit in Rio Properties held,

“without hesitation,” that e-mail service of an online business defendant “was constitutionally

acceptable.” Id. at 1017. The Court reached this conclusion, in part, because the defendant

conducted its business over the Internet, used e-mail regularly in its business, and encouraged

parties to contact it via e-mail. Id.

        Similarly, a number of Courts, including the Northern District of Illinois, have held that

alternate forms of service pursuant to Rule 4(f)(3), including e-mail service, are appropriate and

may be the only means of effecting service of process “when faced with an international e-business

scofflaw.” Id. at 1018; see also, Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-

cv-3249 (N.D. Ill. April 4, 2015) (unpublished) (Order granting Ex Parte Motion for Temporary

Restraining Order, which included permission to serve electronically). Cocoon submits that

allowing service solely by e-mail and electronic publication in the present case is appropriate and

comports with constitutional notions of due process, particularly given the decision by Defendants

to conduct their activities online and anonymously.


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       Furthermore, Rule 4 does not require that a party attempt service of process by other

methods enumerated in Rule 4(f) before petitioning the court for alternative relief under Rule

4(f)(3). Rio Props., 284 F.3d at 1014-15. As the Rio Properties Court explained, Rule 4(f) does

not create a hierarchy of preferred methods of service of process. Id. at 1014. To the contrary, the

plain language of the Rule requires only that service be directed by the court and not be prohibited

by international agreement. There are no other limitations or requirements. Id. Alternative service

under Rule 4(f)(3) is neither a “last resort” nor “extraordinary relief,” but is rather one means

among several by which an international defendant may be served. Id. Likewise, Courts have

confirmed that the Hague Convention does not displace Rule 4(f)(3). See Nagravision SA v.

Gotech Int’l Tech. Ltd., 2018 U.S. App. LEXIS 2976 (5th Cir. 2018) (“Overlooking Rule 4(f)(3)

entirely, Gotech argues that the service did not comply with the Hague Convention and Rule

4(f)(1). This argument misses the mark because service was not effected pursuant to the Hague

Convention, and that agreement does not displace Rule 4(f)(3).”). As such, this Court may allow

Cocoon to serve the Defendants via electronic publication and e-mail.

       Additionally, Cocoon is unable to determine the exact physical whereabouts or identities

of Defendants. Cocoon, however, has good cause to suspect the account holders of the respective

Online Marketplace Accounts are all residents of China, Taiwan and/or Indonesia. The People’s

Republic of China is a signatory to the Hague Convention on the Service Abroad of Judicial and

Extra-Judicial Documents in Civil and Commercial Matters (the “Hague Convention”). Gaudio

Declaration at ¶ 3.

       However, according to Article 1 of the Hague Convention, the “convention shall not apply

where the address of the person to be served with the document is not known.” Id. As such, United

States District Courts, including in this District, routinely permit alternative service of process


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notwithstanding the applicability of the Hague Convention. See e.g., In re Potash Antitrust Litig.,

667 F. Supp. 2d 907, 930 (N.D. Ill. 2009) (“plaintiffs are not required to first attempt service

through the Hague Convention.”); see also Levi Strauss & Co., v. Zhejiang Weidu Garment Co.,

Ltd. et al., No. 16-cv-7824 (N.D. Ill. Nov. 17, 2016) (unpublished). The Hague Convention also

does not preclude service by e-mail, and the declarations to the Hague Convention filed by China

do not appear to expressly prohibit e-mail service. Gaudio Declaration at ¶ 3. In addition, the law

of the People’s Republic of China does not appear to prohibit electronic service of process. Gaudio

Declaration at ¶ 4.

       With respect to Indonesia and Taiwan, neither Indonesia nor Taiwan are parties to the

Hague Convention, and there does not appear to be any treaties between these countries and the

United States regarding service of documents. Thus, there are no international agreements

prohibiting service by e-mail. DFSB Kollective Co., Ltd. v. Bing Yang, 2013 U.S. Dist. LEXIS

46096, at *28 (N.D. Cal. Mar. 28, 2013; Tatung Co. v. Shu Tze Hsu, 2015 U.S. Dist. LEXIS

179201, at *8 (C.D. Cal. May 18, 2015).

       For the reasons set forth herein, Cocoon respectfully requests this Court’s permission to

serve Defendants via e-mail and electronic publication. In accordance with this request, the

proposed Temporary Restraining Order includes authorization to serve Defendants electronically

and provides for issuance of a single original summons1 in the name of “TYFAMILY and all other

Defendants identified in the Amended Complaint” that shall apply to all Defendants in accordance

with Federal Rule of Civil Procedure 4(b).




1
  The Advisory Committee Notes to the 1993 Amendment to Rule 4(b) states, “If there are multiple
defendants, the plaintiff may secure issuance of a summons for each defendant, or may serve copies of a
single original bearing the names of multiple defendants if the addressee of the summons is effectively
identified.” Fed. R. Civ. P. 4(b) advisory committee notes (1993) (emphasis added).
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Dated this 16th day of March 2018.    Respectfully submitted,


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